Case: 1:17-md-02804-DAP Doc #: 5437-4 Filed: 05/13/24 1 of 22. PageID #: 635804
Case: 1:17-md-02804-DAP Doc #: 5437-4 Filed: 05/13/24 2 of 22. PageID #: 635805
Case: 1:17-md-02804-DAP Doc #: 5437-4 Filed: 05/13/24 3 of 22. PageID #: 635806
Case: 1:17-md-02804-DAP Doc #: 5437-4 Filed: 05/13/24 4 of 22. PageID #: 635807
Case: 1:17-md-02804-DAP Doc #: 5437-4 Filed: 05/13/24 5 of 22. PageID #: 635808
Case: 1:17-md-02804-DAP Doc #: 5437-4 Filed: 05/13/24 6 of 22. PageID #: 635809
Case: 1:17-md-02804-DAP Doc #: 5437-4 Filed: 05/13/24 7 of 22. PageID #: 635810
Case: 1:17-md-02804-DAP Doc #: 5437-4 Filed: 05/13/24 8 of 22. PageID #: 635811
Case: 1:17-md-02804-DAP Doc #: 5437-4 Filed: 05/13/24 9 of 22. PageID #: 635812
Case: 1:17-md-02804-DAP Doc #: 5437-4 Filed: 05/13/24 10 of 22. PageID #: 635813
Case: 1:17-md-02804-DAP Doc #: 5437-4 Filed: 05/13/24 11 of 22. PageID #: 635814
Case: 1:17-md-02804-DAP Doc #: 5437-4 Filed: 05/13/24 12 of 22. PageID #: 635815
Case: 1:17-md-02804-DAP Doc #: 5437-4 Filed: 05/13/24 13 of 22. PageID #: 635816
Case: 1:17-md-02804-DAP Doc #: 5437-4 Filed: 05/13/24 14 of 22. PageID #: 635817
Case: 1:17-md-02804-DAP Doc #: 5437-4 Filed: 05/13/24 15 of 22. PageID #: 635818
Case: 1:17-md-02804-DAP Doc #: 5437-4 Filed: 05/13/24 16 of 22. PageID #: 635819
Case: 1:17-md-02804-DAP Doc #: 5437-4 Filed: 05/13/24 17 of 22. PageID #: 635820
Case: 1:17-md-02804-DAP Doc #: 5437-4 Filed: 05/13/24 18 of 22. PageID #: 635821
Case: 1:17-md-02804-DAP Doc #: 5437-4 Filed: 05/13/24 19 of 22. PageID #: 635822
Case: 1:17-md-02804-DAP Doc #: 5437-4 Filed: 05/13/24 20 of 22. PageID #: 635823
Case: 1:17-md-02804-DAP Doc #: 5437-4 Filed: 05/13/24 21 of 22. PageID #: 635824
Case: 1:17-md-02804-DAP Doc #: 5437-4 Filed: 05/13/24 22 of 22. PageID #: 635825
